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 Attorneys for Plaintiff

 *Motion for pro hac vice pending

                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 RIO GRANDE FOUNDATION,
                                                       No. 1:17-cv-00768-JCH-CG
                Plaintiff,

         vs.                                           PARTIES’ STIPULATION AND
                                                       JOINT MOTION TO EXTEND
 CITY OF SANTA FE, NEW MEXICO; and                     DISPOSITIVE MOTION DEADLINES
 CITY OF SANTA FE ETHICS AND                           AND TO EXCEED PAGE
 CAMPAIGN REVIEW BOARD,                                LIMITATIONS

                Defendants,




       The parties stipulate to, and jointly move this court to enter an Order extending the time
for the filing of Motions for Summary Judgment. The parties propose that Plaintiffs’ and
Defendants’ Motions for Summary Judgment be filed by June 11, 2018 with Responses due by
July 16, 2018 and Replies due by August 6, 2018.
       This is the parties’ first request for an extension in this case. It is not being requested for
purposes of delay, but so that the parties may fully brief their cross-motions for summary
judgment as effectively as possible in order to bring this case to a just resolution.


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       The parties further jointly move this court to enter an Order expanding the page
limitations as follows: Motions not to exceed forty (40) pages, Responses not to exceed thirty
(30) pages, and Replies not to exceed fifteen (15) pages.
       These page limit extensions are necessary so that the parties may fully brief the complex
legal issues involved in this case.

       RESPECTFULLY SUBMITTED this 24th day of April, 2018 by:


                                      /s/ Matthew R. Miller
                                      *Matthew R. Miller
                                      *Jonathan Riches
                                      Scharf-Norton Center for Constitutional Litigation
                                      at the GOLDWATER INSTITUTE

                                      Colin L. Hunter
                                      Jordy L. Stern
                                      BARNETT LAW FIRM

                                      Attorneys for Plaintiff

                                      *Appearing pro hac vice.

                                      /s/ Marcos D. Martinez with permission
                                      Marcos D. Martinez
                                      Assistant City Attorney
                                      KELLY BRENNAN, CITY ATTORNEY
                                      CITY OF SANTA FE, NEW MEXICO




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                           CERTIFICATE OF SERVICE
       Document Electronically Filed and Served by ECF this 24th day of April, 2018 to:

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/s/ Kris Schlott
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